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                Exhibit 12
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      TELEPHONE: 1-650-461-5600
                                                               1870 Embarcadero Road
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                                                                              ______________________


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                                                               December 6, 2021

Via E-mail

Dylan L. Jacobs,
    Assistant Solicitor General
        323 Center Street, Suite 200,
             Little Rock, AR 72201.

                 Re:        Brandt v. Rutledge, Case No. 4:21-cv-450 JM

Dear Dylan:

              I write on behalf of Plaintiffs to discuss the issues raised during the
November 30, 2021 meet and confer regarding the subpoenas, dated November 8, 2021
(the “Subpoenas”), served on Representative Mary Bentley, Senator Alan Clark,
Representative Robin Lundstrump, Representative Marcus Richmond and Representative
Jim Wooten (the “Legislators”).

                 During our meet and confer, we agreed that, subject to agreement on
search terms, the Legislators would search for and produce documents responsive to the
document requests contained in the Subpoenas (the “Requests”). Attached as Appendix
A is a list of search terms. Plaintiffs request that the Legislators run these terms and
review any resulting documents for responsiveness to the Requests. To the extent the
Legislators believe any terms are returning an unreasonably high number of non-
responsive documents, please provide a report that lists the number of hits for each search
term. Plaintiffs request that the Legislators run these search terms and confirm they will
review the results for documents responsive to the requests in the Subpoenas, or provide
hit counts, no later than December 20, 2021.

                We further agreed that you would provide a log listing each document
withheld on the basis of attorney-client privilege, attorney work product protection, or
legislative privilege. Lastly, during the call you indicated that you expected to withdraw
the Legislators’ objection that the Requests sought irrelevant documents, but that you
were unable to confirm this on the call. We request that you confirm that the Legislators
will not withhold production of any documents responsive to the Requests based on the
incorrect objection that the Requests seek documents that are not relevant to any party’s
claim or defense.
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Dylan L. Jacobs                                                                   -2-

            We look forward to your prompt response.


                                                       Sincerely,

                                                       /s/ Duncan Simpson LaGoy

                                                       Duncan Simpson LaGoy
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                                       Appendix A


626                                           experimental
1570                                          facial w/10 feminization
2196                                          gallstones
“American Psychiatric Association”            gender
“Coronary artery”                             gender /s affirm!
“Family Council”                              genital!
“liver dysfunction”                           gluteal w/10 augmentation
“transgender laws”                            gonadotropin
20-9-1501                                     hair w/10 reconstruction
20-9-1502                                     heritage
20-9-1503                                     hiatt
20-9-1504                                     hormone!
23-79-164                                     hypertension
adf                                           hypertriglyceridemia
adolescen!                                    hysterectomy
affirm!                                       infertil!
alliance w/10 freedom                         intersex
androgens                                     lgbt
biological w/10 (sex OR female! OR male!)     LGBT /s agenda
burleigh                                      lipofilling
cancer w/10 (breast OR uterine)               liposuction
cerebrovascular                               undstrum
cholelithiasis                                macroprolactinoma
chromosome!                                   mammoplasty
clark                                         mastectomy
clitoroplasty                                 metoidioplasty
cross w/10 sex                                minor!
desist!                                       nonconforming
endocrin!                                     nongenital
erythrocytosis                                oophorectomy
estrogen                                      orchiectomy
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pectoral w/10 implants
penectomy
Perry
persistence
phalloplasty
pronoun
prostheses w/10 (erection OR testicular)
puberty
queer /s agenda
reassign!
referral w/10 (unprofessional OR discipline
OR enforce!)
reproduc!
safe w/10 Act
save w/10 adolesc!
scrotoplasty
sex
steril!
suicid!
testosterone
thromboembolic
thyroid w/10 cartilage
trans!
urethra
vaginectomy
vaginoplasty
voice w/10 surgery
vulvoplasty
watchful w/10 wait!
world w/10 prof!
wpath
